         Case 1:20-cr-00330-AJN Document 117 Filed 01/25/21 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                             1/25/21


  United States of America,

                 –v–
                                                                   20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                        ORDER
                        Defendant.


ALISON J. NATHAN, District Judge:

       On January 25, 2021, the Court received by email the attached letter from the Bureau of

Prisons (“BOP”). In the letter, the BOP requests that the Court vacate its January 15, 2021

Order, Dkt. No. 116, which directed the BOP to give the Defendant access to her Government-

provided laptop computer on weekends and holidays during the hours that she is permitted to

review discovery.

       The Defendant and the Government may respond to the BOP’s letter within one week of

this Order.

       SO ORDERED.

Dated: January 25, 2021                             __________________________________
       New York, New York                                   ALISON J. NATHAN
                                                          United States District Judge




                                                1
        Case 1:20-cr-00330-AJN Document 117 Filed 01/25/21 Page 2 of 3


                                                         U.S. DEPARTMENT OF JUSTICE
                                                         Federal Bureau of Prisons
                                                         Metropolitan
                                                                \     Detention Center


                                                           80 29h Street
                                                           Brooklyn, New York 11232



January 25, 2021


BY ECF


The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007


     Re:      United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)
              Ghislaine Maxwell, Reg. No. 02879-509


Dear Judge Nathan:


     This letter is written in response to Order granted on January 15, 2021, concerning Ghislaine
Maxwell, Reg. 02879-509., an inmate currently confined at the Metropolitan Detention Center (”MDC”) in
Brooklyn, New York. The MDC Brooklyn respectfully requests that Your Honor vacate the Order given
MDC Brooklyn was not given the opportunity to object to defense counsel’s claims, although the objection
had been reiterated to the U.S. Attorney’s Office numerous times.

      Defense counsel expressed various concerns regarding Ms. Maxwell’s confinement limiting her
access to discovery. However, Ms. Maxwell has received a significant amount of time to review her
discovery. On November 18, 2020, the Government provided the MDC Brooklyn with a laptop for Ms.
Maxwell to use to review discovery. Ms. Maxwell has been and will continue to be permitted to use that
laptop to review her discovery for thirteen (13) hours per day, five (5) days per week. In addition to the
Government laptop, she has access to the MDC Brooklyn discovery computers. Although defense counsel
has indicated that the MDC Brooklyn discovery computers are not equipped to read all of her electronic
discovery, the computers are capable of reviewing most of the electronic discovery. Despite defense
counsel’s claim that Ms. Maxwell’s lacks sufficient time to fully review her discovery, her consistent use of
Government laptop and MDC Brooklyn’s discovery computers undercuts this claim.
      Moreover, Ms. Maxwell continues to have contact with her legal counsel five (5) days per week, three
(3) hours per day via video-teleconference and via telephone; this is far more time than any other MDC
inmate is allotted to communicate with their attorneys.
        Case 1:20-cr-00330-AJN Document 117 Filed 01/25/21 Page 3 of 3



       We respectfully request that Your Honor vacate the order of January 15, 2021, and allow the
institution to resume the prior schedule of laptop access, Monday through Friday, 7:00 AM – 8:00 PM.



Respectfully submitted,


/s/ Sophia Papapetru

Sophia Papapetru
Staff Attorney
MDC Brooklyn
Federal Bureau of Prisons
